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                          IN THE UNITED STATES DISTRICT COU
                       FOR THE NORTHERN DISTRICT OF GEOR
                                 ATLANTA DIVISION


    GENORJ MCCORMACK,                           )   CIVIL ACT! ~      NO.:        ., c           ,   •
                                                )
                                                )           1 ·, 3 -CV- ·~ 76        ,f'.   p~
                                                                                                 -       ~

                   Plaintiff,                   )   PLAINTIFF'S COMPLAINT
            V.                                  )   AGAINST DEFENDANTS AND
                                                )   DEMAND FOR JURY TRIAL
   HILTON RESORTS CORPORATION,                  )
   HILTON MANAGEMENT LLC, PARK                  )
   HOTELS & RESORTS INC, and                   )
   BROOKFIELD ASSET MANAGEMENT                 )
   LLC,                                        )
                                               )
                   Defendants.                 )

         Comes now, Genori McCormack, Plaintiff, and hereby alleges the following, on

information and belief, against Defendants:

                                   SUMMARY OF ACTION
        This is an action pursuant to the Georgia Fair Business Practice Act of 1975, Fair

Housing Act, and State Fair Housing Act, and set out below are unfair business practices that

Plaintiff has faced at the hands of Defendants and have been damaged in the amount of $50,000.

                                 JURISDICTION AND VENUE
       I .This Court has jurisdiction over the subject matter and the issue. This Court has

jurisdiction under the Georgia Fair Business Practice Act of 1975 and the Georgia Fair Housing

Act.
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      2.This Court has jurisdiction over the Defendants, because, on information and belief,

  Defendants regularly conduct their business, inter alia, in this State and their unlawful conduct

  against the Plaintiff predominantly occurred in this State.

      3.Vcnue properly lies in this County in that Defendants regularly conduct business in this

  County and the conduct and events giving rise to the claims described herein occurred in this

 County.

                                            PARTIES

     4.A Plaintiff is a natural person living in Georgia at P.O. Box 2252 Atlanta, GA 3003 J.

     5.Defendant, HILTON RESORTS CORPORATION, is an organization located at 6355

 Metro West Blvd. Suite 180, Orlando, FL 32835.

     6.Defendant, HILTON MANAGEMENT LLC, is a company having its main office at 7930

 Jones Branch Drive Mclean, VA, 22102.

     7.Dcfendant, PARK HOTELS & RESORTS INC., is a company having its main office at

 1775 Tysons Boulevard, 7th Floor, Tysons, VA 22102.

     8.Dcfcndant, BROOKFIELD ASSET MANAGEMENT LLC, Brookfield Place is a

company with its main office at 250 Vesey Street, 15th Floor, New York, NY 10281-1023 .

                                FACTUAL ALLEGATIONS

    9.On April 22, 202 J, Plaintiff responded to a Georgia ad regarding Hilton Hotels. Pursuant

to the Defendants' website regarding Covid-19 cleaning procedures and policies located at

https:// covid.hilton.com, Plaintiff booked a room requesting reasonable accommodations at the

Hilton Fort Lauderdale Marina located at 1881 SE 17th Street, Fort Lauderdale, FL 33316 -

Confirmation 3 l 523 l 1289. The room was advertised for $ 162.00 per night. However, despite


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  Hilton's "Price Match Guarantee", Plaintiff was charged $307.00 per night plus taxes and fees

  totaling $763.25.

      IO.On April 23, 2021, Plaintiff arrived at Hilton Fort Lauderdale Marina to check-in.

  However, the room that Plaintiff reserved was not available to Plaintiff per Plaintiff's booking

  accommodations. Instead, Plaintiff was placed in several different rooms which were not

 cleaned nor disinfected prior to Plaintiff's arrival. Most of these units had articles left behind by

 previous occupants, including used linens, toiletries, and hair and dirt rings around the shower,

 sink, and toilets. Plaintiff was transferred from rooms 3343 to 3339, to 612, and to 2419 before

 finally being placed in a handicapped-accessible room. A process that took several hours before

 Plaintiff could finally get settled, from an already long day of travel, in an assigned room

 around 2:00 am.

     I I .On April 24, 202 I , Plaintiff requested another reasonable accommodation pursuant to

the Fair Housing Act. Plaintiff was promised a refund for the stay by management, and Plaintiff

was finally moved to the higher floor room number 1126. However, the room was not

completely clean either unfortunately or Plaintiff's accommodation was denied.

     12.On April 25, 2021, the stay was so uncomfortable and stressful, Plaintiff was forced to

book a room elsewhere at another Hilton brand. Despite being mistreated by Hilton resorts,

Plaintiff still remained loyal to the brand and booked at another property for an even higher

price which Plaintiff should not have had to do.

    13. To conclude, the Defendants did not honor the pnce which was advertised. The

Defendants did not honor the accommodations or modifications requested pursuant to the fair

housing acts. The defendant made unauthorized charges on Plaintiff and Plaintiff's guests'


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  credit cards. During a pandemic, the Defendants forced Plaintiff to be transferred to 4 different

  rooms which by the Defendant's own admission were not cleaned and disinfected prior to

  Plaintiff's arrival in accordance with the Defendant's cleaning procedures and policies that

  were put in place as an effort to prevent the spread of Covid-19. The Defendant 's staff for this

  location were extremely rude despite the circumstances Plaintiff was faced with.

           CAUSE OF ACTION I - VIOLATION OF THE FAIR HOUSING ACT
      14. The plaintiff restates and re-alleges all of the preceding paragraphs as though fully set

 forth herein.

      15.Defendants have violated the Georgia Fair Housing Act by denying reasonable

 accommodations to the Plaintiff and her Guests as required in the Georgia Fair Housing Act for

 handicapped people.

     16.Section 3(e) of the Georgia Fair Housing Act states that:

     "Reasonable accommodations.

     1.          It shall be unlaYifi,l for any person to refuse to make reasonable accommodations

     in rules, policies, practices, or services. when such accommodations may he necessa,y to

     afford a handicapped person equal opportunity to use and enjoy a dwelling unit, including

    public and common use areas.

    2.       For guidance on the application (?/paragraph 1. of this section, the Administrator

    shall refer to the examples set forth in 24 C.F.R. Part 100 Section 100.204(b), on

    reasonable accommodations, and any other relevant sources. "

    17.The Georgia Fair Housing Act, which is nearly identical to the Federal Fair Housing

Act, 42 U .S.C.S. § 3601 ct seq., allows aggrieved persons to seek actual and punitive damages


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  for violations of the Act. O.C.G.A. § 8-3-217. Under O.C.G.A. § 8-3-202(a)(l), it is unlawfu]:

  to refuse to seII or rent after the making of a bona fide offer, or to refuse to negotiate for the

  sale or rental of, or otherwise make unavailable or deny, a dwelling to any person because of

  race, color, religion, sex, disability, familial status, or national origin. Under § 8-3-202(2) of the

  Act, it is unlawful: to discriminate against any person in the terms, conditions, or privileges of

  sale or rental of a dwelling, or in the provision of services or facilities in connection therewith,

 because of race, color, religion, sex, disability, familial status, or national origin.

        18.As per Bailey v. Stonecrest Condo. Ass'n, 304 Ga. App. 484: "In order to prevail under

 the Georgia Fair Housing Act, O.C.G.A. § 8-3-222, a plaintif.lmust show that: (]) a defendant

 coerced, intimidated, threatened or inte,fered, (2) with a (a) plaint[IJ's exercise of a right under

 the Act, (b) plainti.fls enjoyment ofa housing right after exercise of tlzat right, or (c) plaintiffs

 aid or encouragement to a protected person to exercise or enjoy a housing right, (3) because of

 discriminat01y animus. "

       CAUSE OF ACTION II - VIOLATION OF FAIR BUSINESS PRACTICES ACT
       19.The plaintiff restates and re-alleges all of the preceding paragraphs as though fully set

forth herein.

       20.By advertising a false price of the room's rent and misleading Plaintiff into staying in an

unclean room Defendants have violated the provisions of the Georgia Fair Business Practices

Act.

       21.Georgia's Fair Business Practices Act prohibits unfair and deceptive acts or practices in

the marketplace. This law applies to consumer transactions involving the sale, lease or rental

of goods, services or property mainly for personal, family or household purposes. The Georgia

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  Department of Law's Consumer Protection Division wilJ pursue a case of this nature whenever

  the Attorney General determines there is a substantial public interest.

       22.Unlawful activities that are prohibited by the Fair Business Practices Act include:

  Making false or misleading statements about sale prices (example: advertising "On sale today

  only," when the item has been offered at that price for the past month) and advertising goods or

  services with the intent not to sell them as advertised (example: using "bait-and-switch" tactics.

 The legislative purpose is to protect consumers and legitimate business enterprises . This statute

 embodies principles of ethical business conduct that may be traced back many centuries in

 Western civilization.

      23.As per Catrett v. Landmark Dodge, 253 Ga. App. 639: "The Fair Business Practices Act

 (FBPA), Ga. Code Ann. § 10-1-390 et seq., proscribes unfair or deceptive acts or practices in

 the conduct of consumer transactions and consumer acts and practices in trade and commerce.

 The legislation lists various activities that qualijj1 as unfair or deceptive acts or practices,

including representing that goods are original or new (f they are deteriorated, reconditioned,

reclaimed, used. or secondhand. A single instance C?f an unfair or deceptive act or pmctice is a

sufficient predicate upon which to base a claim for damages under the FBPA           if the public

consumer interest would be served thereby. To come within the FBPA, therefore, the deceptive

activity must take place in the context of the consumer marketplace. "

                  CAUSE OFACTION III - BREACH OF CONTRACT

    24. The plaintiff restates and re-alleges all of the preceding paragraphs as though fully set

forth herein.




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       25.Defendants promised that they will rent the room at a certain price but did not keep their

  promise and charged a higher amount as mentioned above. This is a breach of contract with the

  Plaintiff.

      26.Since a verbal promise in exchange for monetary consideration is a binding contract,

  Defendants have actually committed a breach of contract with Plaintiff. A verbal contract can

  bind the parties. See New Horizon Fin. Servs. , LLC v. First Fin. Equities, Inc., 2003 U.S. Dist.

  LEXIS 14573, * 16 (D. Conn. Mar. 26, 2003). The elements of a breach of contract claim

 consist of a lawfully enforceable contract, an unjustified failure to timely perform all or any

 part of what is promised therein, and entitlement of the injured party to damages. Schlinger v.

 McGhee, 2012 WY 7,268 P.3d 264, 268 (Wyo. 2012) (citing Reynolds v. Tice, 595 P.2d 1318,

 1323 (Wyo. J979).

                     CAUSE QFACTIQN IV - MISREPRESENTATION
     27.The plaintiff restates and re-alleges all of the preceding paragraphs as though fully set

forth herein.

     28.By making false claims regarding the rent price and condition of the room, Defendants

arc liable for misrepresentation.

    29.Thc clements of negligent misrepresentation are the same as intentional

misrepresentation, except that the representation is made without reasonable grounds for

believing it to be true, rather than actual knowledge of falsity. (Small v. Fritz Cos In c. (2003) 30

Cal.4th 167, 173-174.) The negligent misrepresentation must also be pleaded with particularity.

(Daniels v. Select Portfolio Servicing, Inc. (2016) 246 Cal.App.4th ]]50, 1166.).




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       30.Sincc Defendants know what they can deliver and sti11 represent false infonnation,

  Defendants are liable for intentional misrepresentation.

                     CAUSE OF ACTION V - FALSE ADVERTISEMENT

      31. The plaintiff restates and re-alleges all of the preceding paragraphs as though fully set

  forth herein.

      32.Defendants are liable for the false advertising based on the above facts regarding the

 price and condition of their rooms.

      33.There are two types of actionable false advertising: (1) advertising which makes claims

 which are literally false on their face, and (2) advertising that, although literally true on its face,

 is perceived by a significant proportion of the relevant market as making "subliminal" or

 "implicit" claims which are provably false. Schering Corp.     1,   Pfizer Inc. 189 F.3d 218.

     34.Defcndants arc liable for the second kind of false advertisement.

                              CAUSE QFACTIQN VI-
                  VIOLATION OF AMERICANS WITH DISABILITIES ACT
     35.Thc plaintiff restates and re-aJleges all of the preceding paragraphs as though fully set

forth herein.

     36.Denying Plaintiff and her disabled Guests a reasonable handicap-accessible room even

upon prior booking is a violation of the Americans with Disabilities Act (ADA) by the

Defendants. The ADA is a civil rights law that prohibits discrimination against individuals with

disabilities in all areas of public life, including jobs, schools, transportation, and all public and

private pJaces that are open to the general public. The purpose of the law is to make sure that

people with disabilities have the same rights and opportunities as everyone else. The ADA


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   gives civil rights protections to individuals with disabilities similar to those provided to

   individuals on the basis of race, color, sex, national origin, age, and religion. It guarantees

  equal opportunity for individuals with disabilities in public accommodations, employment,

  transportation, state and local government services, and telecommunications.

      37.ADA is divided into five titles. Title III deals with public accommodations. Public

  accommodations include facilities such as restaurants, hotels, grocery stores, retail stores, etc.,

  as well as privately owned transportation systems. Title III requires that all new construction

  and modifications must be accessible to individuals with disabilities. For existing facilities,

 barriers to services must be removed if readily achievable.

      38.As per Miller v. Cal. Speedway Co,p., 536 F.3d 1020: " TIile III of the Americans with

 Disabilities Act (ADA), 42 U.S.C.S. § 12181 et seq., prohibits discrimination against any

 individual   011   the basis of disability in the full and equal enjoyment of the goods, services,

facilities, pril'ileges, advantages. or accommodations of any place ofpublic accommodation.

 42 U.S. CS. § 12 l 82(a). Discrimination includes a .failure to remove architectural barriers, or

where removal of a barrier is not readily achievable, a failure to make such goods, services,

facilities, privileges, advantages, or accommodations available through alternative methods.

42 U. S.C.S. § 12182(b)(2)(A)(h~, (v). The ADA .further requires that newly constructed

facilities be readily accessible to and usable by individuals with disabilities. 42 U.S.C.S. §

12183(a)(J). The ADA directs the Attorney General to issue regulations that include standards

applicable to fad/ities covered by TIile III and to provide appropriate technical assistance

manuals to individuals or entities with rights or duties under Title Ill. 42 U.S. CS. §§ J2 J86(b),




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   I 2206(c}(3}. Congress has instructed the Attorney General to issue regulations within one year

   ofthe enactment of the ADA . "

                            CAUSE OF ACTION VII - NEGLIGENCE
        39.The plaintiff restates and re-a11eges a11 of the preceding paragraphs as though fully set

  forth herein.

        40.Plaintiff was placed in several different rooms which were not cleaned nor disinfected

  prior to Plaintiff's arrival. Most of these units had articles left behind by previous occupants,

  including used linens, toiletries, and hair and dirt rings around the shower, sink, and toilets.

  PJaintiff was transferred from rooms 3343 to 3339, to 612, and to 2419 before finally being

 placed in a handicapped-accessible room. A process that took several hours before Plaintiff

 could finally get settled, from an already long day of travel, in an assigned room around 2:00

 am.

       41 .Due to the stay in unhygienic rooms, Plaintiff got infected with Covid twice after the

 stay due to negligence of Defendants regarding unclean and infected rooms. Defendants are

 liable for negligence.

     42 .Thc true rule is that what is the proximate cause of an injury is ordinarily a question for

the jury. It is not a question of science or legal knowledge. It is to be determined as a fact, in

view of the circumstances of fact attending it. The primary cause may be the proximate cause

of a disaster, though it may operate through successive instruments, as an article at the end of a

chain may be moved by a force applied to the other end, that force being the proximate cause of

the movement, or as in the oft-cited case of the squib thrown in the marketplace. The question

always is : Was there an unbroken connection between the wrongful act and the injury--a
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continuous operation? Did the facts constitute a continuous succession of events, so linked

together as to make a natural whole, or was there some new and independent cause intervening

between the wrong and the injury?

    43.As per Chi., Rock Island & Pac. Ry\! Moore, 1912 OK 674: "Negligence is the failure

to do what a reasonable and prudent person would ordinarily have done under the

circumstances of the case, or doing what such a person ·would not have done. Negligence, in

law, is a breach of duty unintentional and proximately producing injwy to another possessing

equal rights. If limited to actionable negligence, this definition is correct; but an act may be

negligent without being the proximate cause of an injury,. and hence not actionable. "

                                   PRAYER FOR RELIEF

    WHEREFO RE, Plaintiff prays that the Court grants the foJiowing :

       A.    Damages, including general and special damages, in an amount to be determined
             at trial but no less than $50,000;
       B.    Punitive damages;
       C.    Restitutionary disgorgcment;
       D.    Pre-judgment interest;
       E.    Costs to the extent provided for by law, including attorney's fees as provided by
             statute; and
       F.    An order awarding Plaintiff such other and further relief as the Court deems just
             and proper.



                                                          Respectfully Submitted By:


                                                          Isl Genori McCormack
                                                          Genori McCormack
                                                          P.O. Box 76784

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                                           Atlanta, GA 30358
                                           Plaintiff, Pro Se



Date: April 23, 2023




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                                DEMAND FOR JURY TRIAL
       Plaintiff, Gcnori McCormack , demands a jury trial for all the triable issues and facts.


Date: April 23, 2023

                                                     Respectfully Submitted By:

                                                     Isl Gcnori McCormack
                                                     Genori McCormack
                                                     P.O. Box 2252
                                                     Atlanta, GA 30031
                                                     Plaintiff, Pro Se




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